Case 1:21-cv-06958-WFK-JRC Document 12 Filed 04/11/22 Page 1 of 2 PageID #: 78




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
TANIA GALARZA,                                                 :
                                                               :
                                    Plaintiff,                 :
                                                               : ORDER
                  v.                                           : 21-CV-6958 (WFK) (JRC)
                                                               :
SMILEDIRECTCLUB, LLC, et al.,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X
WILLIAM F. KUNTZ, II, United States District Judge:

        Because of the ongoing COVID-19 pandemic, the Court has suspended its pre-motion

conference requirement. Therefore, the Court DENIES as moot Defendants’ request for a pre-

motion conference, ECF No. 11, and GRANTS Defendants leave to file the anticipated motion.

The Court ORDERS the following briefing schedule:

    •   Defendants shall submit the motion by Wednesday, May 11, 2022 at 5:00 P.M.;

    •   Plaintiff shall submit a response by Wednesday, June 8, 2022 at 5:00 P.M.; and

    •   Defendants shall submit a reply, if any, by Wednesday, June 29, 2022 at 5:00 P.M.

        As a courtesy, the Court requests the parties refrain from filing motion papers until the

motion has been fully briefed. If the parties elect to file their motion only once it is fully briefed,

the notice of motion and all supporting papers are to be served on the other party along with a

cover letter setting forth whom the movant represents and the papers being served. Only a copy

of the cover letter shall be electronically filed in advance of the fully briefed motion, and it must

be filed as a letter, not as a motion. On the day the motion is fully briefed, each party shall

electronically file their individual motion papers by 5:00 P.M.




                                                  1
Case 1:21-cv-06958-WFK-JRC Document 12 Filed 04/11/22 Page 2 of 2 PageID #: 79




                                          SO ORDERED.



                                                   s/ WFK
                                          ____________________________
                                          HON. WILLIAM F. KUNTZ, II
                                          UNITED STATES DISTRICT JUDGE

Dated: April 11, 2022
       Brooklyn, New York




                                      2
